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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

NETLIST, INC.,                                )
                                              )
              Plaintiff,                      )
                                              )    Case No. 2:22-cv-293-JRG
       vs.                                    )
                                              )    JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD.;                )    (Lead Case)
SAMSUNG ELECTRONICS AMERICA,                  )
INC.; SAMSUNG SEMICONDUCTOR                   )
INC.,                                         )
                                              )
              Defendants.                     )

NETLIST, INC.,                                )
                                              )
              Plaintiff,                      )
                                              )
       vs.                                    )    Case No. 2:22-cv-294-JRG
                                              )
MICRON TECHNOLOGY, INC.;                      )    JURY TRIAL DEMANDED
MICRON SEMICONDUCTOR                          )
PRODUCTS, INC.; MICRON                        )
TECHNOLOGY TEXAS LLC,                         )
                                              )
              Defendants.                     )

    NETLIST, INC.’S MOTION REQUESTING MOTION TO COMPEL MICRON
       TO DE-DESIGNATE TRANSCRIPT OF SCOTT CYR (DKT. 274) AND
      MOTION TO EXPEDITE (DKT. 279) TO BE HEARD BY THE SPECIAL
                      MASTER, HON. DAVID FOLSOM

      Plaintiff Netlist Inc. (“Netlist”) respectfully files this motion requesting that Special Master

Hon. David Folsom hear:

      (1) Netlist’s Motion to Compel Micron Defendants to De-Designate Portions of Deposition
          Testimony of Scott Cyr filed on December 13, 2023. Dkt. 274 (“Motion to De-designate”);
          and

      (2) Netlist’s Motion to Expedite Briefing on Netlist’s Motion to Compel Micron Defendants
          to De-Designate Portions of Deposition Testimony of Scott Cyr filed on December 14,
          2023. Dkt. 279 (“Motion to Expedite”).
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          During the conference call on December 21, 2023, Judge Folsom has indicated that he will

hear the motions assigned to him on January 5th, and indicated that if Netlist believes Dkt. 274 should

be part of that resolution it should move the Court. Judge Folsom has requested the motions he will

consider by December 29th.

          Under the Protective Order entered in this Action, Netlist’s Motion to De-designate and the

related Motion to Expedite are discovery-related motions subject to the Federal and Local Rules

governing motions to compel. Dkt. 60 ¶ 19. On December 8, 2023, this Court appointed Judge

Folsom as a Special Master in this proceeding to conduct a hearing on the parties’ pending discovery

disputes.1 Dkt. 269. Neither party objected to the appointment. Id.

          Micron opposes the assignment to Judge Folsom. The only explicable basis for this is delay.

          Netlist’s Motion to Dedesignate and the related Motion to Expedite represent a pending

discovery dispute between the parties. As detailed in the Motion to De-designate, Netlist has made

repeated efforts to get Micron to comply with the Protective Order by properly identifying what, if

any, information in Mr. Cyr’s transcript was confidential. See Dkt. 274 at 6-7. After repeatedly failing

to respond, during a lead-to-lead meet and confer, counsel for Micron could not provide any

explanation as to why the requested testimony was confidential, instead announcing that it was keeping

the designation to prevent the testimony from being presented to the PTAB. See id. at 1. Also, time is

of the essence in light of the current schedule in the IPR proceedings. See Dkt. 279 (Motion to

Expedite) at 2.

          On November 21, 2023, the Special Master indicated that this issue is not currently within his

remit. Accordingly, Netlist requests that Netlist’s Motion to De-designate and the related Motion to

Expedite be referred to the Special Master for a speedy and efficient resolution.

Dated: December 21, 2023                           Respectfully submitted,

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    Dkt. Nos. 128, 139, 142, 158, 176, 193, 199, 202, 218, 220, 221, 222, 223, 224, 225, and 226.



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                                   /s/ Jason G. Sheasby
                                   Jason G. Sheasby

                                   Samuel F. Baxter
                                   Texas State Bar No. 01938000
                                   sbaxter@mckoolsmith.com
                                   Jennifer L. Truelove
                                   Texas State Bar No. 24012906
                                   jtruelove@mckoolsmith.com

                                   MCKOOL SMITH, P.C.
                                   104 East Houston Street Suite 300
                                   Marshall, TX 75670
                                   Telephone: (903) 923-9000
                                   Facsimile: (903) 923-9099

                                   Jason G. Sheasby (pro hac vice)
                                   jsheasby@irell.com
                                   Annita Zhong, Ph.D. (pro hac vice)
                                   hzhong@irell.com
                                   Andrew J. Strabone (pro hac vice)
                                   astrabone@irell.com
                                   Thomas C. Werner (pro hac vice)
                                   twerner@irell.com
                                   Yanan Zhao (pro hac vice)
                                   yzhao@irell.com
                                   Michael W. Tezyan (pro hac vice)
                                   mtezyan@irell.com

                                   IRELL & MANELLA LLP
                                   1800 Avenue of the Stars, Suite 900
                                   Los Angeles, CA 90067
                                   Tel. (310) 277-1010
                                   Fax (310) 203-7199

                                   Philip Warrick
                                   New York Bar No. 4471413
                                   pwarrick@irell.com

                                   IRELL & MANELLA LLP
                                   750 17th Street NW, Suite 850
                                   Washington, DC 20006
                                   Tel. (310) 777-6512
                                   Fax (310) 317-7252

                                   Attorneys for Plaintiff Netlist, Inc.



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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on December 21, 2023, a copy of the foregoing was served on all counsel

of record.

                                                      /s/ Yanan Zhao
                                                      Yanan Zhao

                             CERTIFICATE OF CONFERENCE

       I hereby certify that, on December 21, 2023, the lead and local counsel for both Netlist and

Micron joined the conference call with Special Master, Hon. David Folsom. Micron stated that it

opposes referring Netlist’s motions to de-designate and motion to expedite to the Special Master.

                                                      /s/ Jason Sheasby
                                                      Jason Sheasby




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